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                                 <T>1,12<END1>1<END2>12<END3>(306,0)<E4>11</E4>0<E5>0<E6>0<E7>11<E8>8/30/2017 12:00:00 AM20:56:42.9333880<E9></T>
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                             EXHIBIT G
